     Case 1:04-cv-00798-PLF-GMH Document 1181 Filed 07/01/19 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
                      v.                        ) Civil Action No. 1:04-cv-00798-PLF
                                                )
                                                )
ALL ASSETS HELD AT BANK JULIUS                  )
BAER & COMPANY, LTD., GUERNSEY                  )
BRANCH, ACCOUNT NUMBER 121128,                  )
IN THE NAME OF PAVLO                            )
LAZARENKO, LAST VALUED AT                       )
APPROXIMATELY $2 MILLION IN                     )
UNITED STATES DOLLARS, ET AL.,                  )
                                                )
       Defendants.                              )


                               ORDER GRANTING CLAIMANTS’
                           MOTION FOR EXTENSION NUNC PRO TUNC

       Having considered the claimants’ motion and without objection by the Government, the

Court hereby GRANTS claimants’ motion for extension, nunc pro tunc, and extends the

claimaint’s deadline to June 26, 2019 and the Government’s deadline to respond to July 10, 2019.

       IT IS SO ORDERED.


This 1st day of July, 2019.
                                                                       Digitally signed by
                                                                       G. Michael Harvey
                                                                       Date: 2019.07.01
                                                                       12:22:29 -04'00'
                                                   _______________________________
                                                   Judge G. Michael Harvey
                                                   United States magistrate Judge
